  Case 1:18-cv-01407-JTN-ESC ECF No. 7 filed 02/19/19 PageID.15 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 MARY COMELLA,

        Plaintiff,
                                                                      Case No. 1:18-cv-1407
 v.
                                                                      HON. JANET T. NEFF
 THE GRANGER GROUP, et al.,

        Defendants.
 ____________________________/


                           NOTICE OF IMPENDING DISMISSAL

       The court records indicate that more than 60 days have passed from the filing of the above

complaint and Defendants have not been served. This notice serves to inform Plaintiff that the

action shall be dismissed without prejudice, unless Plaintiff completes service of process within

90 days after the filing of the complaint, in accordance with FED. R. CIV. P. 4(m).

       To avoid dismissal pursuant to Rule 4(m), if more than 90 days are necessary for service

of process, counsel must execute a verified petition RE: Service of Process, advising the Court:

               A.     That the case should not be dismissed as to the unserved defendant(s);

               B.     That the failure to obtain service upon the defendant(s) is not due to the fault
                      of the party or counsel seeking to avoid dismissal;

               C.     The reasons why the case against the unserved defendant(s) should not be
                      dismissed, set forth in detail; and

               D.     That service will be effected on the defendant(s) within twenty-eight (28)
                      days of the date of the petition.


       This petition must be filed with the Court on or before March 19, 2019. By executing the

petition RE: Service of Process, you need not appear in support thereof until and/or unless so
  Case 1:18-cv-01407-JTN-ESC ECF No. 7 filed 02/19/19 PageID.16 Page 2 of 2



notified by the Court. If the Court is satisfied that the case should not be dismissed, you will be

so notified. If dismissal of the case is satisfactory to you, no action is required. An Order of

Dismissal shall be issued.




Dated: February 19, 2019                                     /s/ Janet T. Neff
                                                            JANET T. NEFF
                                                            United States District Judge
